Case 2:16-cr-20062-DPH-RSW ECF No. 379 filed 04/18/17           PageID.2116     Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                        CASE NO. 16-20062
                                                HON. DENISE PAGE HOOD
 v.

 JEROME HAMILTON, et al.,

              Defendants.
                                      /

       ORDER DENYING GOVERNMENT’S MOTION IN LIMINE FOR
      PERMISSION TO RECALL WITNESSES UNDER FRE 611(a) [#348]

       The Government recently filed a motion in limine seeking the Court’s

 permission to recall one or more of its witnesses at trial in order to present the

 testimony of the witness(es) in separate installments. The Government relies on

 Federal Rule of Evidence 611(a), which provides:

       (a) Control by the Court; Purposes. The court should exercise
       reasonable control over the mode and order of examining witnesses and
       presenting evidence so as to:

              (1) make those procedures effective for determining the truth;
              (2) avoid wasting time; and
              (3) protect witnesses from harassment or undue embarrassment.

 Defendant Hamilton filed a response in opposition to the Government’s motion.

       It is well-established that “[t]he district court must have considerable discretion

 in controlling the mode and order of the proof at trial.” United States v. Lash, 937 F.2d
Case 2:16-cr-20062-DPH-RSW ECF No. 379 filed 04/18/17            PageID.2117     Page 2 of 4



 1077, 1087 (6th Cir. 1991). As the Government recognizes, some courts have

 permitted the government to recall its witnesses – in particular, its case agent – when

 necessary to present the evidence effectively during a long trial. See, e.g. United State

 v. Kilpatrick, et al., No. 10-20403 (E.D. Michigan). The Government maintains that,

 by having permission to recall its witnesses (at this time, the Government has only

 indicated that it wants to utilize its case agent in this manner), it will be easier to try

 the case in installments, which will make it easier for the jury to “follow[] the

 evidence in a complicated case.” [Dkt. No. 348, PgID 1808] The Government

 contends that this will make the trial presentation more “effective for the

 ascertainment of the truth.” Citing Rule 611(a).

        Hamilton counters that, when a witnesses is recalled numerous times during

 trial, “the recalled witness becomes the jury’s old friend and mentor, so that his or her

 credibility is unfairly enhanced thereby.” [Dkt. No. 351, PgID 1816] Hamilton

 contends that a recalled witness will not simply offer uncontested factual testimony

 because the witness(es) will be introducing the evidence upon which other witnesses

 will testify. Defendant argues that it is not even clear what testimony the Government

 seeks to introduce, even though it is the Government’s burden to specify the testimony

 and witnesses – if any, aside from the case agent – that will aid the jury’s

 understanding of the case. See, e.g., United States v. Baker, 2010 WL 3173036, at *4



                                             -2-
Case 2:16-cr-20062-DPH-RSW ECF No. 379 filed 04/18/17           PageID.2118     Page 3 of 4



 (N.D. Ill. 2010). Defendant states that there is no way of knowing whether the

 testimony of the recalled witness(es) will be limited or will unfairly enhance the

 witness’s testimony due to his or her repeated appearances.

       The Court is not persuaded that granting the Government the right to recall

 witnesses to give testimony episodically or via installments is warranted or

 appropriate in the instant case. First, jurors are permitted to take notes during trial.

 Second, as Hamilton notes, there is a danger that a witness who frequents the witness

 stand, particularly one who is guiding or shepherding the evidence at trial (which

 seems likely to occur in this case), will become unfairly credible, reliable, or familiar

 simply by virtue of repeated appearances. Third, the Court believes that repeatedly

 calling the same witness may needlessly waste the time of jurors, the parties, and the

 Court. The Court believes it likely that, if a witness testifies intermittently, there

 would be overlapping testimony due to the recurring witness being asked to tie

 together one installment with another installment previously addressed if one or more

 witnesses testify intermittently. The Court denies the Government’s Motion.

       Accordingly,

       IT IS ORDERED that the Government’s Motion in Limine for Permission to

 Recall Witnesses Under Rule 611(a) [Dkt. No. 348] is DENIED.

       IT IS ORDERED.

                            S/Denise Page Hood
                            Chief Judge, United States District Court
Case 2:16-cr-20062-DPH-RSW ECF No. 379 filed 04/18/17     PageID.2119   Page 4 of 4



 Dated: April 18, 2017

 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on April 18, 2017, by electronic and/or ordinary mail.

                         S/LaShawn R. Saulsberry
                         Case Manager




                                        -4-
